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EXHIBIT A

To Faso Declaration

 
 

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2055 39-5000 | Page] of
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"Wane: JOHNSON, FITZROY LLOYD Page 2 of 3
Bop 1D: ena

IMPORTANT WARNING:

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"Name: OMNSON, FIIZROYLLOYD | | Page 3 of 3

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Hame: HUGHES, GREGORY

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